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                     IN THE UNITED STATES DISTRICT COURT


                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                AUGUSTA DIVISION



BETTY J. HAMILTON,for J.D.E., a minor,

             Plaintiff,

      V.                                                 CV 120-104


ANDREW SAUL, Commissioner of Social
Security Administration,

             Defendant.



                                      ORDER



      After a careful, de novo review of the file, the Coui*t concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

DISMISSES this case without prejudice, and CLOSES this civil action.

      SO ORDERED this              day of October, 2020, at Augusta, Georgia.




                                        J.                          JUDGE
                                        UNITEJDSTATES DISTRICT COURT
                                               lERN DISTRICT OF GEORGIA
